                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


KEITH EDWARDS, as guardian and
conservator for Jerry Blasingame,
                                                        CIVIL ACTION FILE
     Plaintiff,
                                                        No. 1:19-CV-2047-SCJ
v.

OFFICER J. GRUBBS # 6416 and
THE CITY OF ATLANTA,

     Defendants.




                                           ORDER

        This matter appears before the Court on Defendants’ Renewed Motion for

Judgment as a Matter of Law Pursuant to Federal Rule of Civil Procedure 50(b).

Doc. No. [155]. 1 Plaintiff filed response briefs in opposition. Doc. Nos. [168];




1 All citations are to the electronic docket unless otherwise noted, and all page numbers
are those imprinted by the Court’s docketing software.
[169]. Defendants filed reply briefs. Doc. Nos. [175]; [176]. 2 The Court rules as

follows.

I.     BACKGROUND

       On December 17, 2020, Jerry Blasingame 3 filed an Amended Complaint

bringing claims against the City of Atlanta and one of its law enforcement

officers, Officer Jon Grubbs, arising out of a tasing incident that caused injury to




2 After Defendants orally moved for judgment under Rule 50(b), the Court (1) ordered
Defendants to file a motion on the docket and (2) established a briefing schedule such
that Plaintiff was to brief these matters by September 2, 2022, and Defendants were to
brief these matters by September 9. The Court also included those instructions in its
Order to perfect the record. Doc. No. [154]. Defendants initially followed the Court’s
instructions by filing a Rule 50(b) motion for both the City of Atlanta and Officer Grubbs.
Doc. No. [155] (stating that both Defendants were renewing their motions for judgment
as a matter of law under Rule 50). But whereas the City of Atlanta’s responsive brief
adhered to the Court’s instructions (Doc. No. [175]), Officer Grubbs’s filing not only
included a brief but also was styled as another Rule 50 motion (Doc. No. [176]). Officer
Grubbs’s motion at Doc. No. [176] is duplicative of his motion at Doc. No. [155] and
ignores this Court’s clear instructions regarding filing the initial motion and providing
subsequent briefing. Accordingly, the Court will deny the motion at Doc. No. [176] in
favor of considering the motion at Doc. No. [155]. The Court will, however, consider the
briefing contained in Doc. No. [176].
3 Mr. Blasingame, the injured party in this action, originally was the named plaintiff.
See Doc. No. [52]. After the filing of the Amended Complaint, however, Mr. Blasingame
was determined to lack sufficient capacity to make or communicate significant decisions
concerning his health and safety. See Doc. No. [113]. As a result, Keith W. Edwards was
appointed as Mr. Blasingame’s guardian and conservator. Id. The Parties stipulated to
Mr. Edwards, in his capacity as Mr. Blasingame’s guardian and conservator, replacing
Mr. Blasingame as the named plaintiff in this action. Id. Thus, while Mr. Blasingame is
the injured individual in this action, Mr. Edwards is the named plaintiff.
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Mr. Blasingame. Doc. No. [52]. Count I of the Amended Complaint brought a

Fourth Amendment excessive force claim against Officer Grubbs and a municipal

liability claim against the City of Atlanta. Id. ¶¶ 29–38. Count II asserted assault

and battery claims against Officer Grubbs, and Count III asserted a respondeat

superior claim against the City of Atlanta. Id. ¶¶ 39–47. Defendants successfully

moved for summary judgment on Count III (Doc. Nos. [73]; [84]), and Plaintiff

later voluntarily dismissed Count II (Doc. Nos. [146]; [147]). Defendants did not

move to dismiss or for summary judgment on Count I, and Officer Grubbs did

not make a pre-trial dispositive motion asserting a qualified immunity defense.

       Thus, Count I proceeded to a jury trial, which began on August 17, 2022,

and ended on August 26 with a verdict against Defendants in the total amount

of $100 million. Doc. Nos. [156]; [163]; [166]. 4 After Plaintiff rested his case at trial,

Defendants moved for judgment as a matter of law under Rule 50(a). See Doc.

Nos. [151]; [161]. The Court did not grant either Defendant’s motion, and it

advised Defendants that it would consider a renewed Rule 50 motion after the




4  Specifically, the jury found that Plaintiff should be awarded $20 million in
compensatory damages and $20 million in punitive damages against Officer Grubbs.
Doc. No. [163], 2. The jury also found that Plaintiff should be awarded $60 million in
compensatory damages against the City of Atlanta. Id.
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close of Defendants’ case. See Doc. Nos. [153]; [161]. After the close of evidence

and after the jury returned its verdict, Defendants orally renewed their motions

for judgment as a matter of law under Rule 50(b). See Docket Entry of Aug. 26,

2022 (“ORAL MOTION for Judgment as a Matter of Law by Officer J. Grubbs,

The City of Atlanta.”); Doc. No. [154]. The Court instructed Defendants to

memorialize those motions with a docket filing, and the Court established a

briefing schedule for the motions. See Doc. No. [154]. Plaintiff and Defendants

briefed these issues (Doc. Nos. [168]; [169]; [175]; [176]), and these matters are

now ripe for the Court’s review. The Court will discuss the Parties’ arguments in

greater depth below. For now, the Court reviews and summarizes the evidence

adduced at trial, viewing it in the light most favorable to Plaintiff as the non-

moving party. Luxottica Grp., S.p.A. v. Airport Mini Mall, LLC, 287 F. Supp. 3d

1338, 1341 (N.D. Ga. 2017).

      On July 10, 2018, at around 2:30 p.m., Officer Grubbs and his partner,

Officer Keith Shelley, were in their patrol vehicle near Windsor Street and I-20 in

Atlanta when they witnessed Mr. Blasingame on the shoulder of the road. Mr.

Blasingame appeared to be panhandling. The officers had not seen him cross the

roadway. Officer Grubbs decided to question him regarding his activities. Officer


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Shelley, who was driving the patrol vehicle, stopped the vehicle across the road

from where Mr. Blasingame was standing. While Officer Shelley remained in the

vehicle, Officer Grubbs exited the vehicle and approached Mr. Blasingame by

crossing the busy roadway. Officer Grubbs conveyed that he wanted to discuss

why Mr. Blasingame was on the side of the road. At that point, Mr. Blasingame

turned and fled. Officer Grubbs pursued on foot. He ordered Mr. Blasingame to

stop, but the suspect continued to flee. 5

       As Officer Grubbs closed in on Mr. Blasingame, Mr. Blasingame navigated

over 6 a guardrail. On the side of that guardrail away from the road was a wooded

area heavy with brush and foliage. Near where Mr. Blasingame went over the

guardrail, the brush opened to a downhill slope. That slope was angled steeply

downwards. At the bottom of that slope was a grassy area on which stood a large

metal utility box on a concrete pad. On the other side of the grassy area, beyond



5 Because excessive force cases involve fact-specific inquiries, the Court notes here that
the evidence at trial showed that Officer Grubbs was around thirty years old and is a
former high school track athlete. Mr. Blasingame, on the other hand, was sixty-five years
old. Photographic evidence presented at trial showed that Mr. Blasingame was thin and
had a graying beard and hair before the above incident occurred.
6  During this lawsuit, the Parties have disputed whether Mr. Blasingame “hurdled”
over the guardrail or simply climbed over it. See Doc. Nos. [75-1] (Officer Grubbs Dep.
Tr.), Tr. 111:9–25; [130], 2. After considering relevant testimony and other evidence at
trial, the Court declines to state that Mr. Blasingame “hurdled” over the guardrail.
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the utility box, was another road near the interstate. Viewing the evidence at trial

in the light most favorable to Mr. Blasingame, although Officer Grubbs could not

see all the hill in question as these events were unfolding, he was aware that the

hill sloped downwards to another road.

       By the time Mr. Blasingame was traversing the guardrail, Officer Grubbs

had caught up and was attempting to stop the suspect’s flight. At that point, Mr.

Blasingame moved his arm towards Officer Grubbs in what the officer later

testified was a “clearance strike.” Based on his testimony at trial, Officer Grubbs

was not struck, and he did not feel that Mr. Blasingame’s act put him in physical

danger. 7 Similarly, at this point, Mr. Blasingame had not verbally responded to

Officer Grubbs’s demands to stop, and he at no point verbally threatened Officer

Grubbs. Moreover, Officer Grubbs did not see Mr. Blasingame with a weapon.

       After Mr. Blasingame went over the guardrail, he began heading towards

the opening in the brush. Officer Grubbs then drew and discharged his taser at

Mr. Blasingame. Although Officer Grubbs had ordered Mr. Blasingame to stop,




7 The Court emphasizes here that while Officer Grubbs has stated in his filings that Mr.
Blasingame swung at him (e.g., Doc. No. [96-5], 1), Officer Grubbs’s demeanor when
testifying at trial conveyed that the swinging motion did not place the officer in danger.
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he did not issue a warning regarding the taser. The taser hit its mark, causing Mr.

Blasingame to fall and plunge headfirst down the steep slope. Mr. Blasingame’s

head crashed into the concrete base of the utility box at the bottom of the hill.

That impact fractured several bones, including vertebrae, and caused significant

bleeding. Officer Grubbs testified that he tased Mr. Blasingame in part because

he wanted to prevent the fleeing man from running into traffic below, which

Officer Grubbs thought would endanger Mr. Blasingame and others.

      After the tasing, Officer Grubbs approached Mr. Blasingame, who lay on

the ground breathing but unresponsive. Over the next several minutes, Officer

Grubbs radioed in for first responders to provide medical assistance, climbed

back up hill to the roadway to inform Officer Shelley of what had occurred, went

back down to attend to Mr. Blasingame, and called a supervising officer by phone

to advise that supervisor of the tasing incident. Soon thereafter, Mr. Blasingame

was transported to a hospital where he was treated for his injuries. Officer

Grubbs later brought criminal charges against Mr. Blasingame related to his

panhandling activities.

      A video recording from the discharged taser shows some of these events

from just after the taser was discharged, and a video recording from the body-


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worn camera (“BWC”) that Officer Grubbs was wearing depicts these events

starting from several minutes after the tasing. The BWC recording did not depict

the events leading up to and including the tasing because Officer Grubbs had

turned off or toggled buttons on the BWC in a way that caused the BWC not to

capture the two minutes of buffering mode recording that preceded Officer

Grubbs activating the BWC’s recording function. The two recordings that were

captured depicted several items on the ground near where Mr. Blasingame lay,

including his cap, his pen, and a dollar bill.

      Through the testimony of several witnesses associated with the City of

Atlanta Police Department (the “APD”) and expert witnesses Plaintiff retained,

the following evidence was adduced at trial concerning certain policies and

procedures of the APD. First, officers entering the APD through its academy

must undertake training courses involving use of force, including use of force

during an arrest. APD officers must also complete training certified by the

Georgia Peace Officer’s Standards and Training Council. Further, after entering

the force, APD officers must complete at least forty hours of in-service training

each year, which includes use-of-force training.




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       Plaintiff presented evidence specific to use of taser policy and customs by

or in the APD. For example, Plaintiff showed that APD policy warns against use

of tasers when environmental factors such as an elevated position could lead to

serious injury or death. Similarly, instructions concerning operating the model of

tasers used by the APD warn against using the tasers against certain populations,

including the elderly. Plaintiff also presented APD records showing that Officer

Grubbs had discharged his taser more than ten times over the course of his career,

but Plaintiff did not present evidence contextualizing any of those prior uses of

tasers. Moreover, Plaintiff presented no other evidence regarding prior use-of-

taser incidents within the APD at large.

       Plaintiff’s expert witnesses 8 on law enforcement policies and procedures—

Dr. Andrew Scott and Chief Tom Tiderington—both testified as to use of BWCs

within the APD. Relying on evidence relating to that subject, the experts opined

that the APD had a custom or de facto policy of not disciplining officers for failing

to use their BWCs when required by official policy. For example, Plaintiff relied




8 Several of Plaintiff’s fact and expert witnesses testified as to the nature and extent of
Mr. Blasingame’s injuries and his current quality of life given the quadriparesis that
resulted from his injuries. Because the present motions do not concern these witnesses’
testimony, the Court does not discuss them in this Order.
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on an APD performance audit indicating that BWCs, which per APD policy

should not be turned off when officers are on active duty, were recording only

around a third of the time. While a witness associated with the APD testified that

the usage number might not be accurate because it might erroneously include

time when officers were not on active duty, Plaintiff’s experts testified that such

evidence illustrated a custom of allowing officers to turn off their BWCs without

punishment. Those experts further opined that this custom directly allowed or

emboldened officers to use excessive force because the mechanism to record

officer encounters and thereby deter unnecessary use-of-force incidents was not

being used. Thus, the experts opined that this custom constituted deliberate

indifference towards allegedly resulting uses of excessive force.

      The evidence also showed that the BWCs that the APD uses are placed near

officers’ chests. When not activated for recording, the BWCs constantly maintain

a recording buffer of two minutes. Thus, when an officer activates the BWC’s

recording function, the saved recording includes not only the events taking place

after the recording is activated but also the two minutes prior to the recording

function being activated. The audit trail for Officer Grubbs’s BWC indicates that

after Mr. Blasingame was tased, Officer Grubbs toggled his BWC off and then on,


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which erased the two-minute buffering period and started recording once the

BWC was turned back on and activated for recording.

      As for municipal policies or customs related to disciplinary actions against

APD officers, the evidence at trial showed that Officer Grubbs was placed on paid

administrative leave shortly after the tasing incident; he would remain on leave

until January 3, 2019. Both the APD and the Georgia Bureau of Investigation

(“GBI”) investigated the incident. 9 The APD completed its investigation in June

of 2020. Officer Grubbs was later disciplined for his improper use of BWC but

was found not to have violated APD policy regarding use of force. 10

II.   LEGAL STANDARD

      Rule 50(b) of the Federal Rules of Civil Procedure provides that if a “court

does not grant a motion for judgment as a matter of law made under Rule 50(a),

the court is considered to have submitted the action to the jury subject to the




9 Although at least two law enforcement entities investigated the incident, no entity
collected and stored physical evidence from the scene, such as Mr. Blasingame’s cap and
pen, or the dollar bill on the ground near where Mr. Blasingame had fallen.
10 Even though evidence relating to those disciplinary measures was relevant and had
been requested in discovery, Defendants did not produce such evidence. As a result,
Plaintiff first heard about the disciplinary proceedings and discipline of Officer Grubbs
during trial. As discussed in Doc. No. [162], the Court issued remedial measures and
sanctions to address Defendants’ discovery violation.
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court’s later deciding the legal questions raised by the motion.” Fed. R. Civ. P.

50(b). A movant may renew his Rule 50 motion after the jury renders its verdict

or the court enters judgment. See id. In ruling on the renewed motion, the court

may: (1) allow judgment on the verdict; (2) order a new trial; or (3) direct the

entry of judgment as a matter of law. Id.

      Under Rule 50, a “party’s motion for judgment as a matter of law can be

granted at the close of evidence or, if timely renewed, after the jury has returned

its verdict, as long as there is no legally sufficient evidentiary basis for a

reasonable jury to find” for the non-moving party. Lipphardt v. Durango

Steakhouse of Brandon, Inc., 267 F.3d 1183, 1186 (11th Cir. 2001) (cleaned up).

“[I]n deciding on a Rule 50 motion a district court’s proper analysis is squarely

and narrowly focused on the sufficiency of evidence.” Chaney v. City of Orlando,

Fla., 483 F.3d 1221, 1227 (11th Cir. 2007). The court must draw all reasonable

inferences in favor of the nonmoving party. Cleveland v. Home Shopping

Network, Inc., 369 F.3d 1189, 1192–93 (11th Cir. 2004); see also McGinnis v. Am.

Home Mortg. Servicing, Inc., 817 F.3d 1241, 1254 (11th Cir. 2016) (stating that

when a trial court is considering a Rule 50 motion, it must view the evidence in

the light most favorable to the non-moving party). The court must consider


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“whether the evidence is legally sufficient to find for the party on that issue,

regardless of whether the district court’s analysis is undertaken before or after

submitting the case to the jury.” Chaney, 483 F.3d at 1227 (citation and quotations

omitted). But where the case has been submitted to the jury, the court must deny

the motion and affirm the jury verdict “unless there is no legal basis upon which

the jury could have found for [the prevailing party].” Nebula Glass Int’l, Inc. v.

Reichhold, Inc., 454 F.3d 1203, 1210 (11th Cir. 2006).

III.   ANALYSIS

       The Court addresses each Defendant’s argument separately.

       A.    The City of Atlanta’s Rule 50(b) Motion Is Due to Be Granted

       The City of Atlanta moved for judgment as a matter of law under Rule

50(a) during trial, which the Court did not grant. Doc. Nos. [151]; [153]; [161]. The

City of Atlanta renewed its motion under Rule 50(b) after the close of evidence.

Doc. No. [155]. Plaintiff’s and the City of Atlanta’s briefing are as follows.

       In his brief, Plaintiff argues that the City of Atlanta is not entitled to

judgment as a matter of law because the evidence at trial was sufficient to permit

a reasonable jury to determine that the City had failed to train and supervise its

officers regarding BWCs, taser use, and use of force. Doc. No. [168], 15–16.


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Plaintiff asserts that the performance audit of the APD’s use of BWCs shows the

City’s deliberate indifference to properly train and supervise its officers. See id.

at 16, 18. Further, Plaintiff argues that the unrebutted testimony of Julio Reyes,

Dr. Andrew Scott, and Tom Tiderington reveals an official policy or custom on

the part of the City not to train or supervise its officers. Id. at 17–18.

      Plaintiff also argues that the City’s failure to properly train and supervise

its officers directly caused the violation of Mr. Blasingame’s constitutional rights

and his resulting injuries. Id. at 16. Plaintiff contends that the expert testimony of

Dr. Andrew Scott and Tom Tiderington proves that the City’s failure to train and

supervise its officers created an environment in which officers “understood that

there were no consequences in failing to comply with . . . policy,” which in turn

increased the “likelihood that officers will use excessive and unconstitutional

force.” Id. at 18. Plaintiff argues that this testimony satisfies his burden to show

that the City, because of deliberate indifference, failed to train or supervise its

officers, and that such failure was closely related to Officer Grubbs’s use of

excessive force in violation of 42 U.S.C. § 1983. Id. at 19.

      Further, Plaintiff contends that the City is subject to municipal liability due

to its ratification of Officer Grubbs’s use of excessive force through its “continued


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failure to discipline or even effectively investigate” Officer Grubbs. Id. at 22, 24.

Plaintiff argues that the City’s failure to review the audit trail of Officer Grubbs’s

BWC or taser until the time of trial, combined with the City’s decision to merely

place Officer Grubbs on administrative leave following the incident as issue,

constitutes ratification. Id. at 22–23.

      In its brief, the City of Atlanta contends that it cannot be liable under a

Monell claim because no constitutional violation occurred, Plaintiff failed to

show a custom or policy of deliberate indifference towards a constitutional right,

and no custom or policy caused Mr. Blasingame’s injury. Doc. No. [175], 1–2. As

to the first argument, the City contends that Officer Grubbs did not use excessive

force and instead acted reasonably given that he tased an individual who had

been breaking a law, fled from Officer Grubbs, swung at Officer Grubbs, and was

running towards another busy roadway. Id. at 3–5. The City argues that under

similar circumstances, the Eleventh Circuit has held that use of taser does not

constitute excessive force. Id. at 5–6. The City also argues that no constitutional

violation resulted from Officer Grubbs turning off his BWC. Id. at 6–7.

      As to the custom and policy arguments, the City contends that Plaintiff did

not present evidence of an APD custom or policy of excessive force regarding use


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of taser or evidence of prior complaints concerning excessive force by use of taser.

Id. at 7–9. Similarly, the City contends that Plaintiff did not establish a failure to

train officers on proper use of tasers because the evidence showed relevant use-

of-taser training and did not reveal a deliberate indifference to a need for more

training on that issue by, for example, showing a pattern of officers using tasers

improperly. Id. at 9–11. The City also argues that Plaintiff failed to show a policy

or custom concerning deliberate indifference towards use of BWCs, let alone such

a policy that caused Mr. Blasingame’s injury. Id. at 11–14.

      Plaintiff asserted his claim against the City of Atlanta under 42 U.S.C.

§ 1983. Doc. No. [52], ¶¶ 29–38. Under a § 1983 “Monell” claim, a plaintiff may

vindicate his federal constitutional rights against municipalities. See Monell v.

Dep’t of Soc. Servs. of N.Y.C., 436 U.S. 658, 690–94 (1978); see also Khoury v.

Miami-Dade Cnty. Sch. Bd., 4 F.4th 1118, 1131 (11th Cir. 2021) (discussing Monell

claim against a municipality). To succeed on a Monell claim, a plaintiff must

show that the “municipality itself,” through a policy or practice, “cause[d] the

constitutional violation.” City of Canton v. Harris, 489 U.S. 379, 385 (1989);

Monell, 436 U.S. at 694; Khoury, 4 F.4th at 1131 (stating that a municipality can

be held liable under § 1983 only if a municipal policy caused a constitutional tort).


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Moreover, a plaintiff must show that the municipality’s practice, policy, or

custom that caused the constitutional injury constituted deliberate indifference

to the constitutional right that was violated. City of Canton, 489 U.S. at 388–89. A

plaintiff must show that the municipality was the “moving force” behind the

constitutional injury. Barnett v. MacArthur, 956 F.3d 1291, 1296 (11th Cir. 2020).

Further, municipal liability cannot be based on theory of respondeat superior or

vicarious liability. City of Canton, 489 U.S. at 385; Monell, 436 U.S. at 694.

      To establish a municipal custom or policy, a plaintiff must identify (1) “a

widespread practice that . . . is so permanent and well settled as to as to constitute

a custom,” (2) an official, written policy or lack thereof, (3) decision by a final

policymaker, (4) inadequate training or a failure to train, (5) failure to monitor or

supervise, (6) hiring, or (7) a final policymaker’s ratification of a subordinate’s

unconstitutional act. See City of St. Louis v. Praprotnik, 485 U.S. 112, 127 (1988)

(internal quotations omitted) (custom); McKusick v. City of Melbourne, 96 F.3d

478, 483 (11th Cir. 1996) (policy); Pembaur v. City of Cincinnati, 475 U.S. 469, 480

(1986) (decision by a final policymaker); Connick v. Thompson, 563 U.S. 51, 61

(2011) (failure to train); Greason v. Kemp, 891 F.2d 829, 836–37 (11th Cir. 1990)

(failure to monitor); Griffin v. City of Opa-Locka, 261 F.3d 1295, 1313 (11th Cir.


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2001) (hiring); Matthews v. Columbia Cnty., 294 F.3d 1294, 1297 (11th Cir. 2002)

(ratification). To show such a policy or custom, a plaintiff must show a persistent

and widespread practice about which the municipality is at least constructively

aware. Khoury, 4 F.4th at 1131. Similarly, “random acts or isolated incidents are

insufficient to establish a custom or policy.” Id. (citation omitted).

      Regarding the City’s first argument, the Court finds that there was enough

evidence at trial to support the jury’s finding that Officer Grubbs used excessive

force against Mr. Blasingame. The Court will address that issue in more depth in

the next section of this Order. Moving to the City’s policy arguments, however,

the Court agrees that Plaintiff did not present sufficient evidence to find against

the City of Atlanta under a Monell theory.

      To put it simply, the evidence adduced at trial did not show a custom or

policy that amounted to deliberate indifference towards a constitutional right

sufficient to support Plaintiff’s Monell claim. Looking first to use of excessive

force and tasers, the evidence showed that the APD requires officers to undergo

extensive training concerning use of force, which includes training regarding

proper use of tasers. The APD maintains an official policy regarding proper use




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of tasers, which provides guidance about when, where, and against whom an

officer generally should not discharge tasers.

      Given those adequate and reasonable official policies, Plaintiff had to show

a de facto or unofficial policy or custom that permitted officers to use excessive

force, and specifically tasers, in a manner that resulted in the particular use of

excessive force at issue. Plaintiff failed to do that. For example, Plaintiff did not

provide evidence of a widespread or pervasive practice concerning uses of force

or tasers. No evidence showed that the APD was on notice of improper uses of

tasers, let alone that the APD acted with deliberate indifference toward improper

uses of tasers. And the audit trail regarding Officer Grubbs’s prior uses of tasers

did not show how or why he discharged his taser, or whether his prior uses of

taser constituted excessive force. All the evidence showed, then, was the isolated

use of a taser by Officer Grubbs against Mr. Blasingame. As the authority cited

above provides, such an isolated incident is insufficient to sustain a Monell claim.

Because Plaintiff failed to show that the City of Atlanta was the moving force

behind Officer Grubbs’s use of taser against Mr. Blasingame, the Court finds that

there was not sufficient evidence at trial for the jury to find against the City of

Atlanta with respect to use-of-force or use-of-taser policies.


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       Similarly, the Court finds that evidence relating to disciplinary measures

against Officer Grubbs does not support Plaintiff’s Monell claim. Even viewing

that evidence in the light most favorable to Plaintiff, 11 the arguably delayed

investigation and ultimate disciplinary findings concern an isolated incident and

do not show a sufficient pattern to support a Monell claim.

       The Court’s findings do not end this inquiry, though, because Plaintiff also

pursued a Monell theory on the premise that the APD’s policies concerning use

of BWCs caused the use of excessive force at issue. To be sure, Plaintiff presented

evidence concerning improper use of BWCs within the APD. For example, there

was conflicting testimony regarding whether officers were adequately trained as

to the effect toggling the buttons on the BWC would have on the BWC’s recording

function. Further, evidence indicated that BWCs were active only a third of the

time they were supposed to be active—although Defendants were able to elicit

mitigating testimony from an APD witness on that issue. Other evidence showed

that officers generally were not disciplined for failing to adhere to BWC policies.




11 Because the evidence of Officer Grubbs’s discipline was the subject of Defendants’
discovery violation, the Court considers it only to the extent Plaintiff discusses it in his
briefing. See, e.g., Doc. No. [168], 4–5.
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And Plaintiff’s experts opined that these shortcomings fostered an environment

in which officers understood that BWC policies were not being enforced, which

in turn allegedly increased the likelihood that officers would use excessive force.

Even considering that evidence in the light most favorable to Plaintiff, however,

the Court cannot find that there was sufficient evidence to support a finding that

any policies and procedures relating to BWCs caused the constitutional violation

at issue. For example, while Plaintiff’s experts gave broad, conclusory opinions

that proper use of BWCs can reduce uses of excessive force, Plaintiff did not show

that the APD’s failings regarding BWC usage increased uses of excessive force.

Thus, even if Plaintiff showed a persistent failure to comply with or enforce the

APD’s BWC policies, that failure was not shown to have resulted in a widespread

use of excessive force. As such, there is a fatal disconnect between the BWC policy

or custom and the excessive use of force in this case.

      Notably, the only legal authority Plaintiff cites to support this novel theory

is an unpublished summary judgment decision from a district court outside the

Eleventh Circuit. See Doc. No. [168], 18 n.1 (citing Epps v. City of Denver, No.

1:20-cv-01878-RBJ, 2022 WL 605739 (D. Colo. Mar. 1, 2022)). Of course, that case

does not bind this Court. Further, it does not disavow this Court of its view that


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the causal relationship between use of BWCs and the use of excessive force in this

case is too tenuous to support Plaintiff’s Monell claim. No Eleventh Circuit court

has held otherwise, and the Court has no reason to believe that the Eleventh

Circuit would favor such a theory. Accordingly, the Court finds that Plaintiff’s

BWC Monell theory cannot support the jury verdict against the City of Atlanta.

      This Court does not make this decision lightly. Trial by jury is a hallmark

of our justice system, a bedrock principle of this country, and is embedded in our

Constitution. The judiciary has long deferred to jury verdicts. But the Court must

correct a clear error in those rare cases where juries reach a legally unsupportable

result. Richardson v. Mason, 956 F. Supp. 2d 1372, 1374–75 (M.D. Ga. 2013). With

respect to Plaintiff’s Monell claim against the City of Atlanta, the jury did so

here. 12 The Court finds that the City of Atlanta’s Rule 50(b) motion is due to be

granted, and the Court will direct for judgment to be entered in the City’s favor.




12The Court’s jury instruction specific to the Monell claim, to which neither Plaintiff
nor Defendants objected, was as follows:
             Plaintiff claims that the City of Atlanta is liable for failing to
             adequately train and/or supervise its officer—Defendant
             Officer Jon Grubbs—and that this failure caused Defendant
             Grubbs to violate Jerry Blasingame’s Fourth Amendment
             right to be free from excessive force.

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      B.     Officer Grubbs’s Rule 50(b) Motion Is Due to Be Denied

      Officer Grubbs moved for judgment as a matter of law under Rule 50(a)

during trial, which the Court did not grant. See Doc. Nos. [153]; [161]. Officer

Grubbs renewed his motion under Rule 50(b) after the close of evidence. Doc. No.

[155]. Plaintiff’s and Officer Grubbs’s briefing are as follows.

      Plaintiff argues that Officer Grubbs is not entitled to judgment as a matter

of law because his use of force against Mr. Blasingame was unreasonable,

excessive, and in violation of the Fourth Amendment. Doc. No. [169], 10. Plaintiff




             To succeed on this claim, Plaintiff must prove each of the
             following facts by a preponderance of the evidence:
                First: That Defendant Officer Grubbs violated Jerry
                Blasingame’s Fourth Amendment right to be free from
                excessive force;
                Second: That Defendant Officer Grubbs was not
                adequately trained in using force and specifically in using
                a taser;
                Third: That the City of Atlanta knew based on at least one
                earlier instance of unconstitutional conduct materially
                similar to Defendant Officer Grubbs’ violation of Jerry
                Blasingame’s constitutional rights that additional
                training/supervision was needed to avoid the excessive
                force used from likely recurring in the future: and
                Fourth: That the City of Atlanta made a deliberate choice
                not to provide additional training and/or supervision to
                Defendant Officer Grubbs.
At the very least, the jury’s verdict was not supported by evidence concerning the third
prong in that charge.
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argues that, under 11th Circuit precedent, Officer Grubbs firing his taser at Mr.

Blasingame on an elevated surface constitutes deadly force. Id. (citing Bradley v.

Benton, 10 F.4th 1232, 1240–41 (2021)). Plaintiff argues that the use of deadly force

was unreasonable and excessive because Officer Grubbs did not (1) warn before

firing his taser, (2) have probable cause to think Mr. Blasingame had committed

a crime that involved physical harm, and (3) have probable cause to conclude

that Mr. Blasingame posed a threat to others. Id. at 11.

      Finally, Plaintiff argues that Officer Grubbs’s use of unreasonable and

excessive force against Mr. Blasingame violated a clearly established

constitutional right to be free from unreasonable search and seizure. Id. at 10, 14.

Plaintiff argues that, because of the Bradley decision, Officer Grubbs was aware

that his use of deadly force was “obviously unconstitutional.” Id. at 15.

According to Plaintiff, any attempt to argue otherwise would jeopardize the

City’s position regarding Officer Grubbs’s taser training. Id. at 14.

      In his brief, Officer Grubbs argues that he is entitled to qualified immunity.

Doc. No. [176], 2, 4. He contends that, because his use of taser was an act within

his discretionary authority, Plaintiff must show that the facts demonstrate a

violation of Mr. Blasingame’s constitutional rights, and that those rights were


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“clearly established” at the time of the conduct at issue. Id. at 4. Officer Grubbs

argues that Plaintiff failed to do so. Id. at 5.

      Officer Grubbs notes that Mr. Blasingame resisted arrest, fled from the

scene, and “used a backwards swinging motion” towards Officer Grubbs during

pursuit. Id. at 6. Officer Grubbs states that because Mr. Blasingame was allegedly

noncompliant and physically threatening, he fired his taser to “avoid harm to

himself, Blasingame, and others” Id. at 7. Officer Grubbs also argues he did not

violate Mr. Blasingame’s constitutional rights because, given the circumstances,

firing his taser was reasonable. Id. at 6-7.

      Additionally, Officer Grubbs argues that Plaintiff has failed to show that

the constitutional rights allegedly violated were “clearly established” Id. at 9.

Officer Grubbs claims that Plaintiff did not cite a case holding that “employing a

taser one time against a fleeing suspect who is resisting arrest and making

threatening physical gestures towards an officer violates a constitutional right.”

Id. Officer Grubbs cites cases in which courts held that using a taser against a

noncompliant suspect did not violate a clearly established constitutional right.

Id. at 9-10. Further, Officer Grubbs argues that Plaintiff has no constitutional right

to BWC recordings. See id. at 2, 8, 10.


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      In sum, Officer Grubbs argues he is entitled to qualified immunity because

Plaintiff has failed to show that the conduct at issue violated Mr. Blasingame’s

clearly established constitutional rights. Id. at 10.

      Plaintiff asserted an excessive force claim against Officer Grubbs. Doc. No.

[52], ¶¶ 29–37. “The Fourth Amendment’s freedom from unreasonable searches

and seizures encompasses the plain right to be free from the use of excessive force

in the course of an arrest.” Lee v. Ferraro, 284 F.3d 1188, 1197 (11th Cir. 2002). An

officer’s “right to make an arrest or investigatory stop necessarily carries with it

the right to use some degree of physical coercion or threat thereof to effect it.” Id.

(quoting Graham v. Connor, 490 U.S. 386, 396 (1989)). “An officer’s use of force

is excessive under the Fourth Amendment if the use of force was ‘objectively

[un]reasonable in light of the facts and circumstances confronting’ the officer.”

Fils v. City of Aventura, 647 F.3d 1272, 1287 (11th Cir. 2011) (quoting Graham,

490 U.S. at 397). Courts assess reasonableness objectively “from the perspective

of a reasonable officer on the scene.” Graham, 490 U.S. at 396. That “allow[s] for

the fact that police officers are often forced to make split-second judgments—in

circumstances that are tense, uncertain, and rapidly evolving—about the amount

of force that is necessary in a particular situation.” Id. at 396–97.


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      Courts considering excessive force claims must “balance the necessity of

using some force against the arrestee’s constitutional rights.” Teal v. Campbell,

603 F. App’x 820, 821 (11th Cir. 2015); see also Graham, 490 U.S. at 396 (stating

that when analyzing reasonableness, a court must carefully balance “the nature

and quality of the intrusion on the individual’s Fourth Amendment interests

against the countervailing governmental interests at stake” (cleaned up)). Factors

courts should consider in this analysis include:

             (1) the severity of the crime at issue; (2) whether the
             suspect poses an immediate threat to the safety of the
             officers or others; (3) whether he is actively resisting
             arrest or attempting to evade arrest by flight; (4) the
             need for the application of force; (5) the relationship
             between the need and amount of force used; and (6) the
             extent of the injury inflicted.

Teal, 603 F. App’x at 821. When conducting this analysis, the court should keep

in mind that an officer may use force that is “necessary in the situation at hand.”

Lee, 284 F.3d at 1197.

      “A government official faced with a civil rights claim brought pursuant to

42 U.S.C. § 1983 is entitled to raise the affirmative defense of qualified

immunity.” Simmons v. Bradshaw, 879 F.3d 1157, 1162 (11th Cir. 2018). Qualified

immunity typically functions as an immunity from suit and should be decided


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well before trial. Id. But when the court is not presented with the opportunity to

resolve the question of qualified immunity before trial, the court may consider a

qualified immunity defense with a timely Rule 50(a) or 50(b) motion. See Cottrell

v. Caldwell, 85 F.3d 1480, 1487 (11th Cir. 1996); Rivera v. Cohen, No. 2:08-CV-

195, 2010 WL 11622626, at *2 (M.D. Fla. Mar. 29, 2010) (first considering qualified

immunity defense in the context of a Rule 50(a) motion because the defendants

had not timely moved for summary judgment to raise that defense).

      Officials seeking qualified immunity must first establish that they were

acting in their “discretionary authority when the alleged constitutional violation

occurred.” Lewis v. City of W. Palm Beach, 561 F.3d 1288, 1291 (11th Cir. 2009).

The burden then shifts to the plaintiff, who can overcome the qualified immunity

defense by showing that (1) the defendant’s conduct violated a constitutional

right and (2) this right was “clearly established at the time of the alleged

violation.” Townsend v. Jefferson Cnty., 601 F.3d 1152, 1158 (11th Cir. 2010). A

plaintiff can show a violation of a clearly established constitutional right by citing

a materially similar case decided by the Supreme Court, the regional circuit court,

or the relevant state supreme court, or by showing “that the case fits within that

exceptional conduct which so obviously violates the Constitution that prior case


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law is unnecessary.” Teal, 603 F. App’x at 821; see Post v. City of Fort Lauderdale,

7 F.3d 1552, 1557 (11th Cir. 1993) (stating that a plaintiff cannot show that the law

is clearly established by relying on general allegations or broad legal truisms).

      In excessive force cases, qualified immunity applies unless every

reasonable officer in the defendant’s position would have concluded that the

force used was unlawful. Nolin v. Isbell, 207 F.3d 1253, 1255 (11th Cir. 2000); see

also Saunders v. Duke, 766 F.3d 1262, 1267 (11th Cir. 2014) (stating that the court

must determine whether the officer’s conduct was objectively reasonable given

the facts confronting the officer and must not consider such reasonableness with

“the 20/20 vision of hindsight”).

      To start, the Court addresses Officer Grubbs’s argument concerning there

being no constitutional right to BWC recordings. The Court believes that he

misconstrues Plaintiff’s legal theory. Plaintiff does not claim a constitutional right

to BWC recordings. Rather, Plaintiff’s argument goes as follows: Police

departments such as the APD require officers to keep their BWCs on to record

their actions on duty, which theoretically deters uses of excessive force. But when

officers do not properly use their BWCs, that deterrent mechanism vanishes. And

if a police department does not enforce its official BWC policies, there arises a de


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facto policy permitting officers not to use their BWCs, which emboldens officers

to use excessive force in the absence of the deterrence mechanism. Plaintiff argues

that such a de facto policy caused the excessive force at issue in this case. That

theory is not the same as claiming a constitutional right to BWC recordings

themselves. And the Court does not understand Plaintiff to be making such an

argument. Thus, the Court disregards Officer Grubbs’s argument that Plaintiff

has no constitutional right to BWC recordings.

      Now the Court moves to the Parties’ other arguments. First, the Court

agrees that Officer Grubbs, who was an on-duty law enforcement officer effecting

a seizure, was acting in his discretionary capacity when he tased Mr. Blasingame.

Thus, Plaintiff had to show that Officer Grubbs violated Mr. Blasingame’s clearly

established constitutional rights. The Court finds that there was enough evidence

to support the jury’s finding that Officer Grubbs violated Mr. Blasingame’s

clearly established constitutional rights.

      Following the instructions of Graham and its progeny, this Court considers

whether there was an excessive use of force from the perspective of a reasonable

officer facing the circumstances that Officer Grubbs faced. Here, the Court notes

that some facts fall in favor of Officer Grubbs. Mr. Blasingame was breaking the


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law, he ran from an officer who was attempting to apprehend him, and he moved

or swung his arm at the pursuing officer. But other evidence supports Plaintiff’s

case. Mr. Blasingame’s unlawful conduct was panhandling, which is not a serious

crime. Moreover, it is a crime that did not place anyone in danger. Similarly, the

evidence does not show that Mr. Blasingame posed an immediate threat to the

safety of Officer Grubbs and others. Although a suspect swinging an arm at an

officer typically might raise an inference that the suspect posed a threat, Officer

Grubbs made clear during his testimony that he did not feel as though he was in

danger during his encounter with Mr. Blasingame, including when the latter

made his “clearance strike” at Officer Grubbs. Given the fact-specific nature of

this inquiry, the Court takes Officer Grubbs at his word and finds that a

reasonable officer in the same position would not have felt an immediate threat

of danger. Also, the Court does not find that Mr. Blasingame posed an immediate

threat to motorists because there was no non-speculative evidence showing that

he intended to run directly onto, rather than along, the road next to the bottom

of the hill. With those facts established, it would be reasonable for a jury to

determine that there was not a great need for the application of force and that the

use of a taser was disproportionate to whatever need for force existed. Also, the


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significant extent of the injury inflicted by the use of taser counsels in favor of

finding a use of excessive force. Accordingly, under the circumstances, the Court

finds that there was enough evidence at trial to support the jury’s finding that

Officer Grubbs used excessive force and violated Mr. Blasingame’s Fourth

Amendment rights.

      Now, the Court considers whether the constitutional violation at issue was

clearly established as a matter of law. After careful consideration, the Court finds

that it was. The Court looks to the Eleventh Circuit’s decision in Bradley for

guidance. There, an individual who had not committed a serious crime fled from

a pursuing officer and attempted to climb over a fence to continue evading the

officer. 10 F.4th at 1236. That fence was next to an eight-foot-high concrete wall,

over which the suspect also attempted to climb. Id. Without warning, the officer

discharged his taser at the fleeing suspect. Id. Viewing the evidence in the light

most favorable to the non-movant, the facts indicated that the tasing caused the

suspect to fall from the elevated height and onto the ground. Id. That impact

caused fatal blunt force trauma to the suspect’s head and neck. Id. On appeal, the

Eleventh Circuit rejected the officer’s qualified immunity argument, finding that

he used excessive force and violated a clearly established constitutional right by


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firing his taser without warning at a non-threatening suspect who was atop an

elevated surface and precarious position. Id. at 1240–44. The court recognized

that while a taser is not inherently a deadly-force weapon, it can be used to apply

deadly force in some circumstances. Id. at 1241. The Court determined that the

use of taser in that case reasonably could be found to have created a substantial

risk of serious bodily harm or death because it was used against an individual on

an elevated surface. Id. Also, under the circumstances—including the absence of

a threat of serious physical harm, the lack of a preceding serious crime, and the

firing of the taser without warning—the court determined that the level of force

was unreasonable under the circumstances. Id. at 1241–42. Finally, citing

materially similar cases that predated the event at issue, the court determined

that the officer had violated a clearly established constitutional right by tasing

the suspect when he was on an elevated and precarious surface. Id. at 1242–44.

       Following both the teachings of Bradley and the materially similar cases

cited therein, the Court finds that Officer Grubbs violated Mr. Blasingame’s

clearly established Fourth Amendment rights. 13 Officer Grubbs tased a fleeing



13To be clear, the Court recognizes that a “materially similar” case in this analysis must
pre-date the officer’s alleged improper conduct. Mercado v. City of Orlando, 407 F.3d

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but non-threatening suspect who had not committed a serious crime when that

suspect was on an elevated, precarious surface, which made it highly likely that

the tasing would result in serious injury or death. Even had the utility box not

been at the bottom of the hill, Mr. Blasingame’s fall could have resulted in serious

injury. The fact that Mr. Blasingame’s head slammed into that utility box only

worsened an already dangerous fall. Thus, the Court finds that Officer Grubbs

used excessive force and violated Mr. Blasingame’s clearly established

constitutional rights. Officer Grubbs does not enjoy qualified immunity.

       Officer Grubbs’s case citations do not convince the Court otherwise. He

cites Draper v. Reynolds, 369 F.3d 1270 (11th Cir. 2004) for the proposition that

an officer may reasonably tase a suspect who refuses to comply with an officer’s




1152, 1159 (11th Cir. 2005); see also Keating v. City of Miami, 598 F.3d 753, 767 n.6 (11th
Cir. 2010) (declining to cite a decision as a materially similar case because that decision
was not the law at the time of the incidents at issue). Here, Bradley was issued in 2021,
which was after the incidents at issue in this case. Thus, the Court cannot cite Bradley
itself as a materially similar case. The Court finds that does not matter, though, because
the Bradley court cited numerous cases pre-dating the events at issue here that clearly
established that using significant and potentially deadly force against a non-threatening
suspect who is on an elevated surface violates that suspect’s Fourth Amendment rights.
See 10 F.4th at 1242–44 (listing and discussing cases). This Court adopts those citations
and the holding in Bradley—it was clearly established when Officer Grubbs tased Mr.
Blasingame at the top of what Officer Grubbs recognized to be a steep downward slope
that using such force against a fleeing but non-violent suspect violates that individual’s
Fourth Amendment rights.
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verbal commands. But the facts of that case differ because the suspect had been

“hostile, belligerent, and uncooperative” for an extended period and repeatedly

refused to comply with direct orders. Draper, 369 F.3d at 1278. Moreover, nothing

in the facts of that decision indicates that the suspect was tased while on top of

an elevated surface. See id. Although Mr. Blasingame fled and was not obeying

verbal commands from Officer Grubbs, the Court finds the circumstances to be

different here because the lack of a belligerent suspect removes the element of

immediate danger that the Draper court homed in on in reaching its decision. See

id. (stating that the “use of the taser gun may well have prevented a physical

struggle and serious harm to either Draper or Reynolds”). Because such clearly

hostile acts were absent here, the Court does not find that Draper compels a

finding in Officer Grubbs’s favor. 14 The other cases Officer Grubbs cites also do



14 On a related note, the Court takes issue with the altered quotation from Stryker in
which Officer Grubbs states that the Eleventh Circuit has “explicitly held—and thus
clearly established—that [only] employing a taser on a compliant, nonthreatening
suspect violates the Constitution.” Doc. No. [176], 2. The insertion of “[only]” is a clear
attempt to cabin the realm of unacceptable uses of tasers to those uses against “a
compliant, nonthreatening suspect.” But just as clearly, the fleeing suspect in Bradley
was not compliant. Yet the Eleventh Circuit found that the officer did not enjoy qualified
immunity at summary judgment. Thus, from this Court’s point of view, Officer
Grubbs’s altered quotation does not accurately state the law. Moreover, it ignores a
binding decision that this Court discussed in detail during trial, and which the Court
highlighted as a point of concern. Despite that emphasis, Officer Grubbs not only failed

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match the facts of this case, and they do not convince the Court that qualified

immunity applies.

       Accordingly, the Court finds that because there was evidence to support

the jury’s finding that Officer Grubbs used excessive force, and because Officer

Grubbs does not enjoy qualified immunity, his motion for judgment as a matter

of law is due to be denied.

       CONCLUSION

       For the foregoing reasons, the Court: (1) GRANTS the City of Atlanta’s

Renewed Motion for Judgment as a Matter of Law Pursuant to Federal Rule of

Civil Procedure 50(b); and (2) DENIES Officer Grubbs’s Renewed Motion for

Judgment as a Matter of Law Pursuant to Federal Rule of Civil Procedure 50(b).

Doc. No. [155]. Further, while the Court considered the briefing contained in the

filing at Doc. No. [176], the Court DENIES that motion for the reasons discussed

supra in footnote 2.

       The Court DIRECTS the Clerk to enter judgment (1) in favor of the City of

Atlanta and (2) against Officer Grubbs for the amounts provided in the jury




to cite it in his brief; he provided a statement of law that all but ignores it.
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verdict at Doc. No. [163]. The Court further DIRECTS the Clerk to close this case

upon entry of that judgment.


      IT IS SO ORDERED this 14th day of September, 2022.



                                     /s/ Steve C. Jones
                                     HONORABLE STEVE C. JONES
                                     UNITED STATES DISTRICT JUDGE




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